Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 1 of 34. PagelD #: 46

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
14500 LIMITED, an Ohio Limited
Liability Company
Plaintiff,
Case No. 1:12-cv-01810
v. Judge Christopher A. Boyko

CSX TRANSPORTATION, Inc., a
Virginia Corporation.

Defendant,

 

MOTION TO REMAND
Now comes the Plaintiff, by and through the undersigned counsel, and does respectfully
pray this Court to remand this matter back to the Cuyahoga County Court of Common Pleas.
Contrary to the assertions of the Defendant, removal is neither required nor proper under 28
U.S.C. sections 1331 through 1446. Federal law does not preempt this simple state law property
claim. Furthermore, and alternately, the amount in controversy does not exceed $75,000.00.

The reasons for remand are more fully set forth in the hereto attached and incorporated brief.

Respectfully submitted,

 

7100 E Pleasant Valley #110
Independence, OH 44131
216-986-0860
djhorvath@hotmail.com
Case: 1:12-cv-01810-CAB Doc#:5 Filed: 07/25/12 2 of 34. PagelD #: 47

SERVICE
The undersigned hereby certifies the Robert E. Haffke, 9010 Lakeside Ave., Cleveland,
Ohio 44114 and R. Eric Bilik, 50 N. Laura Street, Suite 330, Jacksonville, Florida 33202 was

served by way of Ordinary Mail this 25" day of July, 2012.

David
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 3 of 34. PagelD #: 48

INTRODUCTION

This matter was originally brought in state court on an adverse possession claim.
Pursuant to the affidavit of Neil F. Gloger, attached hereto as Exhibit A, this action became
necessary due to a property dispute between the parties.' The Plaintiff purchased land believing
certain boundaries existed. Those boundaries are in dispute pursuant to descriptions established
by way of a survey. Despite exclusive use and possession of the land by Plaintiff and Plaintiff's
predecessors in ownership, title to this tiny piece of land apparently lies with Defendant CSX.
CSX admitted it did not need the land and had no use for the land. The parties entered into some
negotiations to purchase the land. Plaintiff believed there were economic benefits to this course
of action.

Plaintiff instituted litigation as the parties could not agree on a reasonable purchase price
or the conditions of sale. The Defendant suggested the value of the land was somewhere in the
$20,000.00 to $28,000.00 range. This is verified by way of Exhibit B, an email from the
Defendant’s sales associate in Jacksonville Florida. Plaintiff felt this number was excessive
given the amount of land in question and decided to pursue legal remedies by way of an adverse
possession action, feeling there were economies in that course of action.

At no time has Plaintiff attempted to regulate, control, effect, or in any way regulate the
operations of CSX, In fact, this land in question has been irrelevant to the operations of
Defendant for decades. The state court action had and this action continues to have no affect on
the operations of CSX nor can Plaintiff's actions be deemed an attempt to control the economic

operations of CSX. Thus this matter should be remanded per the arguments below.

 

1 Please see Affidavit of Gloger for factual references in this section.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 4 of 34. PagelD #: 49

LAW AND ARGUMENT

The Defendant believes that the ICCTA clearly preempts the state law claims of Plaintiff.
At paragraph 11 of its Notice, Defendant States that the ICCTA “expressly and categorically
preempts state law regulation of rail transportation”. What the Defendant fails to appreciate or
admit is that Plaintiff is in not in any way attempting to regulate rail transportation or otherwise
take advantage of any state law which purports to regulate rail transportation. In fact,
Defendant’s own case law suggests that the Defendant’s arguments are not only an improper
extension of case law, but that this case should be remanded. Attached hereto for the Court’s
review is the entire of the Fifth Circuit’s opinion in Elam vs. Kansas City Southern Railway
Company 635F. 3d 796 (5" Cir.2011).

The Elam court went to great lengths to discuss subject matter jurisdiction and the
establishment of same by way of the ICCTA. In its well reasoned opinion the Fifth Circuit
addresses the principles of federal preemption as follows:

“A Plaintiff is the master of his complaint and may allege only state law, even

when federal remedies might also exist. Bernhard vs. Whitney Nat'l bank, 523 F.3d 546

(5"" Cir.2008). Under the well-pleaded complaint rule, a federal court does not have

federal question jurisdiction unless a federal question appears on the face of Plaintiffs

well pleaded complaint. /d. Accordingly, there is no federal question jurisdiction if the

Plaintiff properly pleads only a state law clause of action” Gutierrez vs. Flores, 543 F. 3d

248 (5" Cir. 2008). Furthermore, that federal law might provide a defense to a state law
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 5 of 34. PagelD #: 50

cause of action does not create federal question jurisdiction. Merrell Dow Pharm. Inc. vs.
Thompson 478 U.S. 804(1986).

An exception to the well-pleaded complaint rule arises when Congress so
completely preempts a particular area that any civil complaint raising this select
group of claims is necessarily federal in character. Gutierrez 543 F. 3d at 252.
(Emphasis added). Under the complete preemption doctrine,’ what otherwise appears
as merely a state law claim is converted to a claim arising under federal law for
jurisdictional purposes because the federal statue so forcibly and completely displaces
state law that the Plaintiff's cause of action is either wholly federal or nothing at all.
New Orleans &Gulf Coast ry. Co vs, Barrois, 333 F. 3d 321 (si Cir. 2008). The
question in complete preemption analysis is whether Congress intended the federal
cause of action to be the exclusive cause of action for the particular claims asserted
under state law. Barrois 533 F. 3d 331. In.determining Congress’ intent, Congress
may do so either expressly through the statues plain language or impliedly through its
structure and purpose. Altria Group, Inc. vs. Good, 555 US. 270 (2008). Regardless
of how Congress indicates its intent, we begin with the assumption that the historic
police powers of the state are not to be superseded by the Federal act unless there was
a clear and manifest purpose of Congress to do so. /d.
The Elam court then goes on to discuss the Plaintiff's state law claims of negligence and

negligence per se. Within this opinion it is established that the state statute which clearly

 

? In this instance the Defendant suggests preemption as a defense to the Plaintiffs claims. Assumedly the Defendant
will move this Court to dismiss this claim should this Court find subject matter exists. Therefore, Defendant is
guilty of attempting to create jurisdiction for the sole purpose of creating a defense.

* As opposed to “defensive preemption” which does not create federal jurisdiction but only declares the supremacy
of federal law over state law. Barrios 533 F. 3d at 337, Complete preemption is an extraordinary measure and is a
very narrow exception to the well-pleaded complaint rule. Jd.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 6 of 34. PagelD #: 51

attempts to regulate the economic operations of the railroad, and which is the basis of the
negligence per se claim, were preempted by the ICCTA. The Elam court went to great lengths to
discuss the word “regulation” determining that it applies only to statues or laws that have the
effect of managing or governing rail transportation. E/am at 805. The Elam court found that the
ICCTA does not preempt generally applicable state laws that have only a remote or incidental
effect on rail transportation. Jd. Therefore, if the state law is not expressly preempted by the |
ICCTA it will only be preempted if the effect of that law has an unreasonable burden or
interference with rail transportation. fd. |

The opinion focuses on the realities of regulation. The core element of the ICCTA was
economic regulation. /d at 806. In finding the state statue had an immediate and significant
impact on economic regulation, the Elam court therefore found the negligence per se claim to be
preempted by the ICCTA. However, the Elam court determined with specificity that the state
law tort claim for ordinary negligence was not preempted by the statue. Finding that the state
law negligence claim does not “manage or govern rail transportation”, the Elam court found that
the state law did not “fall squarely under” section 10501(b) because it did not attempt to manage
or govern railroad transportation. /d.at 806 to 807, The Elam court made it clear, that in reading
the historical case law pertaining to section 10501(b), that Congress only intended to completely
preempt state laws and remedies when they are a direct attempt to manage or govern a railroad’s
decisions in the economic realm. /d. at 807. (Emphasis) The Elam court then went on to
discuss the Plaintiff's state court negligence claim, and how it did not affect the railroad’s
economic operations. In doing so there is language within the opinion that is of particular import —

sub judice.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 7 of 34. PagelD #: 52

At page 813, Elam court is quoted as saying “Jike state property laws and rules of civil
procedure that generally have nothing to do with railroad crossings, the effects of state
negligence laws on rail operations are merely incidental.” Id at 813 (citing Franks 593 F 3d at
411). (Emphasis added). In finding that the ICCTA did not expressly or completely preempt the
Elam’s simple negligence claim, the Fifth Circuit discussed whether or not the negligence claim
could have the effect of unreasonably burdening or interfering with the railroad’s operation. In
this instance the Elam court found that there was no significance to the Defendant’s affidavits
pertaining to economic impact, and determined that the negligence action did not unreasonably
burden or interfere with the railroads economic operation. The court found that the action would
simply have no effect on switching, train length, or crew operations. It was determined that the
Defendant had not met its burden of showing that the simple negligence claim is preempted.

In this case we can point to this language and determine that the adverse possession
claim, which in and of its self affects a parcel of land valued at less than $30,000.00, does not in
any way unreasonably burden or interfere with CSX’s operations. More specitically, and in
reference to the above quoted language, state property laws generally have nothing to do with
railroad crossings or operations, and the effects of state property laws are “merely incidental’’. In
the case of judice we are dealing with nothing but that: state property laws. Enforcing such laws
is not significant enough to fall under the purview of complete preemption.

It is a long stretch to determine that an adverse possession claim somehow attempts to
regulate operations of CSX. Notwithstanding, the Defendant attempts to engage in semantic
arguments using definitions contained within the Act. As forth in paragraph 10 of its Notice, the
Defendant correctly states that the ICCTA defines “transportation” to include a warehouse,

wharf, doc, yard, property or other facility...of any kind related to the movement of passengers
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 8 of 34. PagelD #: 53

or property or both...” 49 U.S.C. Section 10102(9)(a). It is curious that the Defendant bold-
faces the words “property” and “yard” but glosses over the operative part of the definition:
“related to the movement of passengers or property or both...” What the Defendant suggests is
that the Court make a determination that transportation means “property” or “yard” and not the
use of either in the “movement of passengers”. This is nonsensical.

In this instance the land in question is not being used or is any way related to the
movement of passengers or property. CSX has failed to make so much as one factual assertion
to that point. That is because this is a dormant piece of land, behind a fence that has precluded
CSX employees from entering onto it for decades. This is certainly not the type of situation
Congress intended to preempt by enacting the ICCTA.

The Plaintiff is not attempting to utilize any state statue which in any way attempts to
regulate the operations of the railroad. Rather the Plaintiff is merely using state common law to
determine ownership of property which has been used exclusively by Plaintiff and its
predecessors in privety for decades. The Defendant knows this and has been careful not to
mention the lack of use in its arguments for preemption. At no time does the Defendant suggest
that this land is being used for transportation as defined by the act. Nor has Defendant alleged in
any way that the exercise of jurisdiction by the state courts would in any way effect its usage of
its rails, or otherwise regulate the usage of its. The argument that the Defendant may someday
determine that this property is useful, or could possibly be incorporated into existing operations,
is insufficient to create jurisdiction under the ICCTA. Again, the Plaintiff is not attempting to
“directly manage or govern a railroad’s decisions in the economic realm”. PCI Trans. vs. Fort

Worth & W.R.R. Co. 418 F. 3d 535 (5 Cir. 2005)(as quoted by Defendant).
Case: 1:12-cv-01810-CAB Doc#:5 Filed: 07/25/12 9 of 34. PagelD #: 54

Likewise, the Defendant’s attempts to establish jurisdiction under 28 U.S.C. Secs. 1441
and 1332 are also fatal. Although the Defendant has “stated the value” of this case to be in
excess of $75,000.00, Defendant is dishonest in doing so. Attached as Exhibit B is an email
from a CSX sales associate: Mr. Matt Coughing. Within this email he clearly establishes to Mr.
Neil Glogger, an officer with 14500 Limited, that the value of the property is, at best,
$28,000.00. For the Defendants to support an argument to the contrary is disingenuous and
misleading.

Generally, conclusory allegations of an amount in controversy exceeding $75,000.00 are
insufficient to carry the Defendants burden and the Defendant must establish the amount in
controversy by a preponderance of the evidence. AfcPhail v. Deer $ Co., 529 F. 3d 947 (10" Cir.
2008). Defendant has not done so. Rather the Defendant perfunctorily state that is may
determine the amount. Specificaily, Defendant claims that since non-monetary relief is sought,
the Defendant may, by way of the removal notice, state the amount on controversy. This is
simply a fallacy. So are the nebulous and self serving recitations of significant impact etc. In
short, the Defendant has failed to carry its burden. The Defendant must provide specific facts in
the notice to demonstrate the Plaintiff’s damages exceed $75,000.00. Coca cola Bottling of
Emporia v. S Beach Beverages Co. 98 F. Supp 2d 1112 (D Kan. 2002).

There is simply no basis for diversity jurisdiction in this matter. The Defendant clearly
admits this is not a case or controversy in access of $75,000.00. Therefore, any attempt to move
this matter to a federal court based upon same should be denied. This case is proper for remand

on these factual defects as well.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 10 of 34. PagelD #: 55

CONCLUSION

There is a presumption against removal jurisdiction. Laughlin v. Kmart Corp.,50 F. 3d
871 (10 Cir. 1995). Statutes conferring jurisdiction are to be narrowly construed in light of the
federal courts’ limited role a tribunals. Pritchett v. Office Depot, Inc.,420 F, 3d. 1090 (10" Cir.
2005). All doubts should be resolved against removal. Fajen v. Found. Res. Ins. Co., 683 F. 2d
331 (0th Cir. 1982). The removing party bears the burden of clearly establishing the
requirements of federal jurisdiction. Martin v. Franklin Capital Corp, 251 F. 3d 1284 (10™ Cir.
2001). Given these standards, remand is warranted.

There is simply no federal question on the face of Plaintiff's Complaint, nor is this action
“necessarily federal in character”. There is no question that Congress did not intend to preempt
or “displace” state law adverse possession claims as a matter of course or policy. That the Act
might provide a defense does not itself create jurisdiction. Furthermore, the Defendant has failed
to demonstrate that a simple adverse possession action, over less than a quarter acre of land, is a
direct attempt to economically regulate a railroad. Without an affirmative demonstration that
the statute applies, that there is a significant impact on CSX’s operation, that Congress intended
to preempt this action, or that the amount in controversy exceeds $75,000.00, all doubts shouid
be resolved in favor of the Plaintiff and this matter should be remanded to the State Court.

Respectfully submitted,

Dayid )/Aorvath
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 11 of 34. PagelD #: 56

EXHIBIT A
STATE OF OHIO

COUNTY OF CUYAHOGA

Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 12 of 34. PagelD #: 57

AFFIDAVIT OF —
SS: NEIL GLOGER

ee ee ee”

I Neil Gloger being first duly sworn and cautioned according to law, do hereby depose state,

allege, aver as enumerated hereunder:

1.

10.

11.

That I am Managing Partner for 14500 Limited, an Ohio Limited Liability Company, the
Plaintiff in the instant litigation.

That Plaintiff owns certain property which abuts property owned by CSX Transportation.

That 1 made due and diligent inquiry as to the ownership and u use of this land prior to
purchasing said land for the company.

That I was assured by the previous owner that no one else had used this particular piece
of land for decades. This includes the Defendant CSX Transportation.

That at the end boundaries of the parce! of land that we are trying to take by adverse
possession is a fence which has precluded anyone from CSX from entering on to the
property from their adjacent property.

That at ail times all parties assumed that this particular piece of land was indeed owned
hy the previous owners and not CSX Transportation.

In its current state the land is not usable for CSX nor can it conceivably be used for them
in any future railroad endeavors. There is no evidence of tracks ever being on this
property nor is there any indication that this property was ever intended to be used for
railroad transportation purposes.

Furthermore, I entered into negotiations with CSX for the purchase of adjacent land.

They represented this value at $20,000.00-$28,000.00 of this land in question.

T understand that CSX is now representing to this court that the value of this land is in
excess of $75,000.00. This is simply false. It was their valuation of the land that caused
me to consider legal options for obtaining this land including this lawsuit. Again, this
land was valued by them at only $20,000.00-$28,000.00. Stating otherwise is nothing
more than an argument of convenience to improperly force this matter into Federal Court.

I am in no way attempting to regulate or otherwise affect the affairs of the Defendant.

In no way will the change of ownership in this land affect the operations of CSX
Transportation currently or in the future.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 13 of 34. PagelD #: 58

12. The ownership of this land is necessary to the continued operation and profitability of my
business and the worth of the land in general. It is worthless to CSX.

13. Representatives from CSX had expressed to me they have no plans now or in the future
for the use of this land.

14. Again, my company is in no way trying to interfere with the operations of CSX.
Ownership of this land is irrelevant to the continued operations of CSX,

 
  

IT SAYETH NAUGHT

 

Nil Gloger

On July___, 2012 Neil Gloger appeared before me and p
above is his signature and did attest that this affidavit was his fr

  
 

Kevin R. Collins
Notary Public
State of Ohio

| My Comm. Exp.

Feb, 23, 2014
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 14 of 34. PagelD #: 59

EXHIBIT B
Hotmail - djaseath@RarmailsamCAB Doc #:5 Filed: 07/25/12 15 of 34. PagelD #: Bage | of |

Forwarded Message Attachment--

From: Matthew_Coffing@csx.com

Ta: n.gloger@intergroupinternational.com
Subject: Collinwood Yard Encroachment
Date: Tue, 20 Mar 2012 17:24:10 +0000

Neil,

After thoroughly vetting our position in a coordinated effort between CSX Real Property, our legal
team, and our field operations team we have finally been able to determine the options for the
unauthorized encroachment on property owned by CSX and our predecessor companies since June 24,
1873 at Collinwood Yard, from our perspective.

As you know, we have made a concerted effort to reach out to field operations in an attempt to reach
both your and our ideal goal. That goal, being to serve your shipping needs via rail service to the rear
of your facility at 14500 Darley Avenue. After discovering that the track nearest your facility is
controlled by TRANSFLO, a subsidiary company of C5X, we reached out to them to determine if we
could serve you on the track in question through their operations. And, after further investigation,
what you would propose to do does not align with the current needs for TRANSFLO with regard to that
track. As a result of this development, we have determined that the track located directly South of
your facility cannot be used to service your needs.

That said, TRANSFLO has informed me that we can serve you via truck, though | know you were
formerly opposed to this option. If you have a change of heart, please feel free to reach out to Jeanne
Koopman of TRANSFLO, with whom you have previousiy spoken regarding this matter. If you were not
able to take dawn her contact information, | will be glad to put you in touch with her.

Further, we have determined the property has a somewhat significant market value of somewhere in
the $20,000 - $28,000 range. What 1 would like to propose to you is an solution that could still
potentially save you a significant amount of money on legal bills and still satisfy your company’s needs
to occupy the property. This solution would be a lease of the property for $1,800/year. Please let me
know if this is an agreeable solution and | will send the matter to our Manager of Leasing who can help
you execute a land-lease agreement.

Best Regards,

Matt Coffing

Sales Associate

CSX Real Property

6737 Southpoint Drive South, Suite100
Jacksonville, Florida 32216
904-279-4837 (Direct Line}
904-245-3850 (Fax}

http://b1168w.blul 68.mail.live.com/default.aspx?rru=inbox 7/19/2012
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 16 of 34. PagelD #: 61

ELAM v. KANSAS CITY

SOUTHERN RR Co.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 17 of 34. PagelD #: 62

635 F.3d 796 (5th Cir. 2011}, 10-60227, Elam v. Kansas City Southern Ry. Co.
Page 796

635 F.3d 796 (5th Cir. 2011)

Barbara ELAM, Bobby Elam, Plaintiffs-Appellants,

v.

The KANSAS CITY SOUTHERN RAILWAY COMPANY; Ronald L. Michael, Defendants-
Appellees.

No. 10-60227.

United States Court of Appeals, Fifth Circuit.
March 15, 2011

Page 797

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Page 798

[Copyrighted Material Omitted]
Page 799

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Page 800

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Page 801

Duncan Lee Lott, Casey Langston Lott (argued), Langston & Lott, P.A., Booneville, MS, for
Plaintiffs-Appellants.

Charles Edwin Ross (argued), William B. Lovett, Jr., Wise Carter Child & Caraway, P.A., Jackson,
MS, for Defendants-Appellees.

Jaffrey Robert White, Center of Constitional Lit., P.C., Washington, DC, for Amicus Curiae.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 18 of 34. PagelD #: 63

Appeal from the United States District Court for the Northern District of Mississippi.
Before DAVIS, WIENER, and BENAVIDES, Circuit Judges.
BENAVIDES, Circuit Judge:

Plaintiff-Appellant Barbara Elam allegedly suffered injuries when she drove her automobile into the
side of a train. Elam and her husband brought this state law tort action against the train's owner
and its engineer in Mississippi state court. The Elams claim the defendants were negligent per se
in violating Mississippi's antiblocking statute, which purports to regulate the amount of time a train
may occupy a crossing. The Elams also claim the defendants negligently failed to maintain
adequate warnings of the train's presence at the crossing. The case was removed to federal
district court. The district court held the Interstate Commerce Commission Termination Act
(ICCTA) completely preempted the Elams’ negligence per se claim and preempted their simple
negligence claim. We hold the ICCTA completely preempts the Elams' negligence per se claim but
does not preempt their simple negligence claim.

|. BACKGROUND

On November 18, 2006, plaintiff Barbara Elam drove her automobile into the side of a train owned
by defendant Kansas City Southern Railway Company (KCSR) and operated by defendant Ronald
L. Michael, the train's engineer (together KCSR, unless otherwise indicated). The train was
performing switching operations at the Pine Crest Road crossing in Corinth, Mississippi, and was
stopped at the time of the accident. Elam allegedly suffered injuries, and she and her husband,
Bobby Elam, brought this state law tort action against

Page 802

KCSR in Mississippi state court. The Elams assert KCSR was negligent per se in violating
Mississippi's antiblocking statute, Mississippi Code 77-9-235, which limits the amount of time a
train may occupy a road crossing. The Elams also assert KCSR negligently failed to provide
adequate warnings of the train’s presence at the crossing |] The Elams seek actual and punitive
damages. |

KCSR removed this action to the Northern District of Mississippi. Although both Michael and the
Elams are residents of Mississippi, KCSR invoked the district court's diversity jurisdiction on the
ground that Michael was not a proper party. KCSR also invoked federal question jurisdiction on
the ground that the ICCTA completely preempted the Elams' state law claims.

The Elams moved to remand for lack of subject matter jurisdiction. The district court found it
lacked diversity jurisdiction, but nonetheless exercised removal jurisdiction on the ground that the
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 19 of 34. PagelD #: 64

ICCTA completely preempted the Elams' claims. The Elams moved for clarification as to whether
the ICCTA preempted all their claims or only their negligence per se claim. The district court
issued a second order specifying that the ICCTA expressly and completely preempted the Elams’
negligence per se claim and impliedly preempted their simple negligence claim. The district court
then sua sponte dismissed the action without prejudice so it could be refiled with the Surface
Transportation Board, the federal agency that implements the ICCTA. The Elams appealed.

Il. STANDARDS

Federal subject matter jurisdiction is limited and must be conferred by Congress within the
bounds of the Constitution. See, e.g., U.S. CONST. art. Ill, 2; Cary v. Curtis, 44 U.S. 236, 245, 3
How. 236, 11 L.Ed. 576 (1845): Marbury v. Madison, 5 U.S. (1 Cranch) 137, 176, 179, 2 L.Ed. 60
(1803). Litigants cannot bestow subject matter jurisdiction on federal courts by waiver or consent.
See, e.g., Mitchell v. Maurer, 293 U.S. 237, 244, 55 S.Ct. 162, 79 L.Ed. 338 (1934). We may
examine the district court's subject matter jurisdiction, sua sponte if necessary. See, e.g., United
States v. Corrick, 298 U.S. 435, 440, 56 S.Ct. 829, 80 L.Ed. 1263 (1936); Bender v. Williamsport
Area Sch. Dist., 475 U.S. 534, 541, 106 S.Ct. 1326, 89 L.Ed.2d 501 (1986). Legal questions
concerning federal jurisdiction are reviewed de novo. Ramirez-Molina v. Ziglar, 436 F.3d 508, 513
(5th Cir.2006).

The preemptive effect of a federal statute is a question of law we review de novo. Franks inv. Co.
LLC v. Union Pacific R.R. Co., 593 F.3d 404, 407 (5th Cir.2010) (en banc); Friberg v. Kan. City S.
Ry. Co., 267 F.3d 439, 442 (5th Cir.2001). The party asserting federal preemption has the burden
of persuasion. AT& T Corp. v. Pub. Util. Comm'n of Tex., 373 F.3d 641, 645 (5th Cir.2004) (citing
Silkwood v. Kerr-McGee Corp., 464 U.S. 238, 255, 104 S.Ct. 615, 78 L.Ed.2d 443 (1984)).

Ill. DISCUSSION

We hold the district court had removal jurisdiction over this action because the ICCTA completely
preempts the Elams’ negligence per se claim. We next hold the ICCTA does not preempt the
Elams’ simple negligence claim, at least on the current record.

Page 803
A. Federal jurisdiction and the Elams' negligence per se claim

A federal district court has removal jurisdiction over an action if the district court could have
exercised original jurisdiction over it. 28 U.S. C. 1441(a). We hold the district court could have
exercised original federal question (and supplemental) jurisdiction over this action because the
ICCTA completely preempts the Elams' negligence per se claim.

1. Principles of federal preemption
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 20 of 34. PagelD #: 65

A plaintiff is the master of his complaint and may allege only state law causes of action, even
when federal remedies might also exist. Bernhard v. Whitney Nat'l Bank, 523 F.3d 546, 551 (5th
Cir.2008). Under the well-pleaded complaint rule, a federal court does not have federal question
jurisdiction unless a federal question appears on the face of the plaintiff's well-pleaded complaint.
ld. Accordingly, " there is no federal [question] jurisdiction if the plaintiff property pleads only a
state law cause of action.” Gutierrez v. Flores, 543 F.3d 248, 252 (5th Cir.2008) (quoting
Bernhard, 523 F.3d at 551}. That federal law might provide a defense to a state law cause of
action does not create federal question jurisdiction. Merrell Dow Pharm., Inc. v. Thompson, 478
U.S. 804, 808, 106 S.Ct. 3229, 92 L.Ed.2d 650 (1986).

An exception to the well-pleaded complaint rule arises when Congress "so completely preempt[s]
a particular area that any civil complaint raising this select group of claims is necessarily federal in
character." Gutierrez, 543 F.3d at 252 (quoting Johnson v. Baylor Univ., 214 F.3d 630, 632 (5th
Cir.2000}). Under the " complete preemption” doctrine, " what otherwise appears as merely a state
law claim is converted to a claim ‘ arising under’ federal law for jurisdictional purposes because the
federal statute so forcibly and completely displaces state law that the plaintiffs cause of action is
either wholly federal or nothing at all." New Orleans & Gulf Coast Ry. Co. v. Barrois, 533 F.3d 321,
330 (5th Cir.2008) (internal quotation marks and brackets omitted); see also Franks, 593 F.3d at
407." The question in complete preemption analysis is whether Congress intended the federal
cause of action to be the exclusive cause of action for the particular claims asserted under state
law.” Barrois, 533 F.3d at 331; see also Beneficial Nat'l Bank v. Anderson, 539 U.S. 1, 8, 123 S.Ct.
2058, 156 L.Ed.2d 1 (2003).

Complete preemption must be distinguished from " defensive preemption” (i.e., " conflict
preemption" or " ordinary preemption" ). Barrois, 533 F.3d at 331. Defensive preemption does not
create federal jurisdiction and simply " declares the primacy of federal law, regardless of the forum
or the claim." /d. " As a general matter, complete preemption is less common and more
extraordinary than defensive or ordinary preemption." /d. Indeed, complete preemption is a"
narrow” exception to the well-pleaded complaint rule. Beneficial, 539 U.S. at 5, 123 S.Ct. 2058.

In determining the nature and reach of federal preemption, Congress's intent is the " ultimate
touchstone." Medtronic, inc. v. Lohr, 518 U.S. 470, 485, 116 S.Ct. 2240, 135 L.Ed.2d 700 (1996).
Congress can indicate its preemptive intent either expressly through a statute's plain language, or
impliedly through a statute's " structure and purpose." Altria Group, Inc. v. Good, 555 U.S. 70, 129
S.Ct. 538, 543, 172 L.Ed.2d 398 (2008). Regardless of how Congress indicates its intent, we
begin " with the assumption that the historic police powers of the States are not to be

Page 804

superseded by the Federal Act unless that was the clear and manifest purpose of Congress." /d.
(internal quotation marks and citation omitted); Franks, 593 F.3d at 407. This assumption applies
with " particular force” when Congress legislates in a field traditionally occupied by state law.
Case: 1:12-cv-01810-CAB Doc#:5 Filed: 07/25/12 21 of 34. PagelD #: 66

Altria, 129 S.Ct. at 543. On the other hand, the assumption applies with less force when Congress
legislates in a field with " a history of significant federal presence." United States v. Locke, 529
U.S. 89, 108, 120 S.Ct. 1135, 146 L.Ed.2d 69 (2000). " Historically, federal regulation of railroads
has been extensive...." Fayard v. Ne. Vehicle Servs., LLC, 533 F.3d 42, 46 (1st Cir.2008).

The Elams' well-pleaded complaint asserts only state law claims of negligence and negligence per
se. Ordinarily, these state law claims would not support original federal question jurisdiction. The
issue is whether any of these claims is completely preempted by federal law. .

2. The state and federal statutes at issue

The Elams assert KCSR was negligent per se in violating Mississippi's antiblocking statute, |2] The
Elams specifically allege KCSR " failed to uncouple its cars so as not to obstruct traffic on Pine
Crest Road" and obstructed the Pine Crest Road crossing " for a period in excess of five minutes”
at the time of the accident.

Effective January 1, 1996, the ICCTA abolished the Interstate Commerce Commission (ICC) and
created a new Surface Transportation Board (STB) to regulate, inter alia, rail transportation in the
United States. 49 U.S. C. 10501(a)(1); Friberg, 267 F.3d at 442. The purpose of the ICCTA is to”
build[ ] on the deregulatory policies that have promoted growth and stability in the surface
transportation sector.” H.R.Rep. No. 104-311, at 93 (1995), reprinted in 1995 U.S. C.C.A.N. 793,
805. With respect to rail transportation, the ICCTA seeks to imptement a " [flederal scheme of
minimal regulation for this intrinsically interstate form of transportation,” and to retain only
regulations " that are necessary to maintain a * safety net’ or ‘ backstop’ of remedies to address
problems of rates, access to facilities, and industry restructuring." /d. at 93, 96, 1995 U.S.
C.C.A.N. at 805, 808; see also 49 U.S.C. 10101(2).

The ICCTA creates exclusive federal regulatory jurisdiction and exclusive federal remedies.
Specifically, the ICCTA provides:

The jurisdiction of the {STB] over-

(1) transportation by rail carriers, and the remedies provided in this part with respect to rates,
classifications, rules (including car service, interchange, and other operating rules), practices,
routes, services, and facilities of such carriers; and(2) the construction, acquisition, operation,
abandonment, or discontinuance of spur, industrial, team, switching, or side tracks, or facilities,
even if the tracks are located, or intended to be located, entirely in one State,

Page 805

is exclusive. Except as otherwise provided in this part, the remedies provided under this part with
respect to regulation of rail transportation are exclusive and preempt the remedies provided under
Federal or State law. —

49 U.S.C. 10501(b).
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 22 of 34. PagelD #: 67

Section 10501(b) thus has two sentences: the first" defining the authority of the STB in dealing
with the fundamental aspects of railroad regulation, and barring others from interfering with those
decisions by making the jurisdiction exclusive" ; and the second providing that the " remedies
available at the STB dealing with ' rates, classifications, rules, ... practices, routes, services, and
facilities of such carriers,’ are exclusive." Franks, 593 F.3d at 409-10. We refer to these two
sentences as the exclusive-jurisdiction provision and the exclusive-remedies provision,
respectively. The exclusive-remedies provision is " the relevant part of Section 10501 (b)" for
determining the scope of the ICCTA's preemption of state law. /d. at 410. Focusing on the word "
regulation" in the exclusive-remedies provision, we have held that 10501(b) expressly preempts "
only laws that have the effect of managing or governing rail transportation.” /d. (emphasis added).
3] Similarly, " [tlo the extent remedies are provided under laws that have the effect of regulating
[i.e., Managing or governing] rail transportation,” they too are expressly preempted. /d. [4] On the
other hand, 10501({b} does not expressly preempt generally applicable state laws that have a
mere " remote or incidental effect on rail transportation.” /d. [5] If a state law is not expressly
preempted by the ICCTA, it still may be impliedly preempted if, as applied to a particular case, it
has " the effect of unreasonably burdening or interfering with rail transportation." /d. at 414.

As a final matter, we observe Congress was particularly concerned about state economic
regulation of railroads when it enacted the ICCTA. The House Report on the ICCTA states that
10501(b) reflects a " [flederal policy of occupying the entire field of economic regulation of the
interstate rail transportation system" and establishes " the direct and complete pre-emption of
State economic regulation of railroads.” H.R.Rep. No. 104-311, at 95-96, 1995 U.S. C.C.A.N. at
807, 808. The House Report explains:

[a]ithough States retain the police powers reserved by the Constitution, the Federal scheme of
economic regulation and deregulation is intended to address and encompass all such reguiation
and to be completely exclusive. Any other construction would undermine the uniformity

Page 806

of Federal standards and risk the balkanization and subversion of the Federal scheme of minimal
reguiation....

id. at 96, 1995 U.S. C.C.A.N. at 808. The preemptive effect of 10501(b) may not be limited to
state economic regulation, [© but economic regulation is at the core of ICCTA preemption. See
Friberg, 267 F.3d at 443 (" [I]t appears manifest that Congress intended the ICCTA to further that
exclusively federal [regulatory] effort, at least in the economic realm." }; see also Fayus Enters. v.
BNSF Ry. Co., 602 F.3d 444, 451 (D.C.Cir.2010) (recognizing that" the core of ICCTA preemption
is ‘ economic regulation’ " ); PCS Phosphate Co., Inc. v. Norfolk S. Corp., 559 F.3d 212, 219 (4th
Cir.2009) (observing that voluntary agreements " do not fall into the core of economic regulation
that the ICCTA was intended to preempt" ).

3. The ICCTA completely preempts the Elams' negligence per se claim.

In Friberg v. Kansas City Southern Railway, we held the ICCTA at least defensively preempted a
negligence per se claim based on a state antiblocking statute substantially identical to the
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 23 of 34. PagelD #: 68

Mississippi statute at issue in this case.!’1267 F.3d at 444. We reasoned that the ICCTA does not
permit states to directly regulate " a railroad's economic decisions such as those pertaining to train
length, speed or scheduling." /d. at 444. Sitting en banc, we confirmed this holding in Franks
investment v. Union Pacific Raifroad. 593 F.3d at 411. The only issue here is whether Friberg
applies to the context of complete preemption.

We have already held the ICCTA completely preempts state law tort actions that " fall squarely"
under 10501(b). PC! Transp. Inc. v. Fort Worth & W. R.R. Co., 418 F.3d 535, 540 (5th Cir.2005); [
8] Barrois, 533 F.3d at 331: We have not yet defined what it means to " fall squarely" under
10501(b), but our cases provide some guidance. First, as discussed above, 10501(b}) expressly
preempts only state laws that " manage or govern" rail transportation. Franks, 593 F.3d at 411;
see also H.R. Conf. Rep. No. 104-422, at 167 (1995), reprinted in 1995 U.S. C.C.A.N. 850, 853
(stating that " exclusivity is limited to remedies with respect to rail regulation— not State and
Federal law generally" ). This suggests a state law does not " fall squarely" under 10501(b) unless
it atternpts to manage or govern rail transportation. Second, we have recognized the core purpose
of 10501(b) is to prevent states from regulating rail transportation in the " economic realm."
Friberg, 267 F.3d at 443; see also Fayus, 602 F.3d at 451. This recognition is consistent with
Congress's intent regarding the completely preemptive effect of 10501(b). See H.R.Rep. No. 104-
311, at 95-96, 1995 U.S. C.C.A.N. at 807, 808 (asserting " the direct and complete pre-emption of
State

Page 807

economic regulation of railroads.” ). This suggests a state law does not" fall squarely" under
10501(b) unless it attempts to manage or govern rail transportation in the economic realm. Lastly,
we have specifically determined that a state law tort remedy that would directly regulate a
railroad's switching rates and services falls squarely under 10501(b}. PC/, 418 F.3d at 540; see
also Port City Props. v. Union P. R.R. Co., 518 F.3d 1186, 4188 (10th Cir.2008) {citing PC/ and
finding state law tort remedy targeting delivery services on rail spur completely preempted).
Implicit in our determination was a recognition that a rail operator's decisions about switching rates
and services are economic decisions. See Friberg, 267 F.3d at 444 (finding that a railroad's
economic decisions include " those pertaining to train length, speed or scheduling" ).

We read these cases together as establishing that 10501(b) completely preempts state laws (and
remedies based on such laws) that directly attempt to manage or govern a railroad’s decisions in
the economic realm. 1 Put another way, when a plaintiff's tort claim directly attempts to manage
or govern a railroad's decisions in the economic realm, that claim " is either wholly federal or
nothing at all." Barrois, 533 F.3d at 330.

The Elams' negligence per se claim fits this mold. Mississippi's antiblocking statute directly
attempts to manage KCSR's switching operations, including KCSR's decisions as to train speed,
length, and scheduling. The statute thus " reach[es] into the area of economic regulation," Friberg,
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 24 of 34. PagelD #: 69

267 F.3d at 443-44, " in a direct way." Franks, 593 F.3d at 411. Because Mississippi's antiblocking
statute is a direct attempt to manage KCSR's decisions in the economic realm, the statute is
completely preempted by the ICCTA. And because the Elams' negligence per se claim is based
solely on Mississippi's antiblocking statute, it too is completely preempted.

We note the economic effects of Mississippi's antiblocking statute are not merely incidental to an
otherwise valid state law . See Franks, 593 F.3d at 411. Unlike generally applicable state property
laws and rules of civil procedure that on their face " have nothing to do with railroad crossings," d.,
Mississippi's antiblocking statute homes in on " railroad companies)" and rail " cross[ings].”
MISS.CODE 77-9-235. Indeed, the statute has no application except with respect to the operation
of railroads at rail crossings.

The Elams point out-that their negligence per se claim, unlike the negligence per se claim at issue
in Friberg, involves " safety issues." But focusing on the Elams’ particular reason for enforcing
Mississippi's antiblocking statute misses the point. Regardless of why the Elams brought their
negligence per se claim, the effect of the claimis to economically regulate KCSR's switching
operations. To be sure, not every state law targeting rail operations is completely preempted by
the ICCTA. Under the standards we have discussed, the ICCTA will not completely preempt valid
exercises of a state's police powers in most cases. See Fayus, 602 F.3d at 451 (distinguishing
economic regulations from public health, safety, and environmental regulations).{10 indeed, the

Page 808

Federal Railroad Safety Act (FRSA) expressly provides that states may enact (and citizens may
enforce) rail safety laws in certain circumstances. See 49 U.S. C. 20106(a)(2), (b)(1); see also
Tyrrell v. Norfolk S. Ry. Co., 248 F.3d 517, 523 (6th Cir.2001) (" [T]he ICCTA and its legislative
history contain no evidence that Congress intended for the STB to supplant the FRA’s authority
over rail safety." ). But we have already determined that a state antiblocking statute like the one at
issue in this case does not pertain to " traditionally state-controlled safety issues." Friberg, 267
F.3d a i n. 18. The statute therefore is incompatible with the ICCTA and not saved by the
FRSA.

We emphasize our holding so far is not broad. We do not anticipate many state law claims will be
completely preempted (and thus removable to federal court) under the standards we have
discussed. Complete preemption applies only when a plaintiffs claim directly attempts to manage
or govern a railroad's decisions in the economic realm. A negligence per se claim based on
Mississippi's antiblocking statute happens to be one such claim.

4. The district court would have original jurisdiction over the Elams' negligence per se claim.

The Elams approach the complete preemption issue from yet another perspective. The Elams
contend the district court could not have exercised original (and hence removal) jurisdiction over
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 25 of 34. PagelD #: 70

their negligence per se claim because the STB has " exclusive" jurisdiction over claims under the
ICCTA. See 49 U.S. C. 10501(b)(1) (providing that STB has " exclusive" jurisdiction over
remedies provided in ICCTA). The Elams point to the Second Circuit's decision in Suffivan v.
American Airlines, which held that the Railway Labor Act (RLA) does not completely preempt
state-law-based mincr disputes because minor disputes under the RLA cannot be filed in the first
instance in federal court. 424 F.3d 267, 276 (2d Cir.2005). The Elams' argument is unpersuasive
in the context of the ICCTA for several reasons.

First, we have already held the ICCTA may completely preempt at least some state law tort
claims. See PCi, 418 F.3d at 540. This alone prevents us from adopting Sullivan's reasoning in
this context.

Second, the district court would have had original jurisdiction over the Efams' negligence per se
claim under 28 U.S. C. 1331 and 1337. Section 1337 authorizes " original jurisdiction of any civil
action or proceeding arising under any Act of Congress regulating commerce or protecting trade
and commerce against restraints and monopolies...." 28 U.S.C. 1337(a); see a/so 28 U.S.C.
1331 {authorizing original jurisdiction of all civil actions arising under federal laws). For the reasons
already discussed, the Elams' negligence per se claim arises under the ICCTA, a federal statute
protecting interstate rail transportation against state regulation and restraints. See CSX Transp.
Co. v. Novolog Bucks Cnty., 502 F.3d 247, 252 (3d Cir.2007) (recognizing original " federal
question

Page 809

jurisdiction under 28 U.S. C. 1337 over cause of action arising under the Interstate Commerce
Act" ); Fla. E. Coast Ry., 266 F.3d at 1326 (same); cf. Thurston Motor Lines, inc. v. Jordan K.
Rand, Ltd., 460 U.S. 533, 533-34, 103 S.Ct. 1343, 75 L.Ed.2d 260 (1983) (per curiam}
(recognizing federal question jurisdiction and 1337 jurisdiction over claim arising under Interstate
Commerce Act); Louisville & N.R. Co. v. Rice, 247 U.S. 201, 202-03, 38 S.Ct. 429, 62 L.Ed. 1071
(1918) (same).

Third, the plain text of the ICCTA contemplates civil actions against rail carriers. Section
11704(c){1) provides “ [a] person may file a complaint with the Board under section 11701(b) of
this title or bring a civil action under subsection (b) of this section to enforce liability against a rail
carrier providing transportation subject to the jurisdiction of the Board under this part." 49 U.S. C.
11704(c)(1). Subsection (b) states " [a] rail carrier providing transportation subject to the
jurisdiction of the Board under this part is liable for damages sustained by a person as a result of
an act or omission of that carrier in violation of this part." 49 U.S. C. 11704(b). As the First Circuit
has correctly observed, " [t]he most natural reading of this language is that it authorizes a person
who has suffered damages as a result of a rail carrier's violation of the ICCTA either to file a
complaint with the STB or to bring a civil action." Pejepscot indus. Park, Inc. v. Me. Cent. R.R.
Co., 215 F.3d 195, 202 (2000); see also /.C.C. v. Atl. Coast Line R.R. Co., 383 U.S. 576, 579-80,
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 26 of 34. PagelD #: 71

86 S.Ct. 1000, 16 L.Ed.2d 109 (1966) (stating that under former Interstate Commerce Act, a“
complainant is given the alternatives of seeking such damages by complaint to the Commission ...
or of bringing suit in a federal district court" ).

Fourth, courts have repeatedly applied the judicial doctrine of " primary jurisdiction" in the context
of both the ICCTA and its predecessor statute, the Interstate Commerce Act (ICA). See, e.g., Atl.
Coast Line, 383 U.S. at 579-80 (ICA); United States v. W. P. R.R. Co., 352 U.S. 59, 63-64, 77
S.Ct. 161, 1 L.Ed.2d 126 (1956) (same); Hansen v. Norfolk & W. Ry. Co., 689 F.2d 707, 710 (7th
Cir.1982) (same); Novolog, 502 F.3d at 252 (ICCTA); Pejepscot, 215 F.3d at 202 (same). Fhe
doctrine of primary jurisdiction attempts to maintain " proper relationships between the courts and
administrative agencies" by suspending judicial process pending the " referral" of certain issues to
an administrative agency for its views. W. Pac., 352 U.S. at 63-64, 77 S.Ct. 161; see also 28 U.S.
C. 1336(b) (providing district court may refer action to STB for determination). Despite its name,
the doctrine of primary jurisdiction ” is not related to the subject matter jurisdiction of the district
court over the underlying action." S. New Eng. Tel. Co. v. Global NAPs inc., 624 F.3d 123, 136 (2d
Cir.2010); see a/so Reiter v. Cooper, 507 U.S. 258, 268, 113 S.Ct. 1213, 122 L.Ed.2d 604 (1993)
(" Referral of the issue to the administrative agency does not deprive the court of jurisdiction....” ).
Indeed, the doctrine of primary jurisdiction presumes original federal subject matter jurisdiction.
See W. Pac., 352 U.S. at 63-64, 77 S.Ct. 161 (stating that doctrine of primary jurisdiction " applies
where a claim is originally cognizable in the courts" (emphasis added)); //, Bell Tel. Co., Inc. v.
Global NAPs fil, Inc., 551 F.3d 587, 595 (7th Cir.2008) (" Despite the term primary jurisdiction, the
reference of a case to an agency pursuant to that doctrine, rather than denying the jurisdiction of
the court over the case, presupposes that jurisdiction.” ). Thus, when courts have applied the
doctrine of primary jurisdiction to claims under the iCA and the ICCTA,

Page 810
they have also implicitly acknowledged the claims were properly filed in federal court.

To the extent 11501(b)(1) and 11704(c)(1) are in tension, we must attempt to read the provisions
"together to produce a harmonious whole." Doe v. KPMG, LLP, 398 F.3d 686, 688 (5th Cir.2005};
see also Gustafson v. Alfoyd Co., Inc., 513 U.S. 561, 570, 115 S.Ct. 1061, 131 L.Ed.2d 1 (1995)
(stating acts of Congress " should not be read as a series of unrelated and isolated provisions" ).
In fact, we think the doctrine of primary jurisdiction provides the best way to reconcile 10501(b)
and 11704(c)(1). Under the ICA, the ICC had “ exclusive primary jurisdiction” to decide certain
matters affecting transportation policy. W. Pac., 352 U.S. at 63, 77 S.Ct. 161. Viewed in this light,
10501(b) also may be interpreted as vesting the STB with ” exclusive" primary jurisdiction over the
remedies provided in the ICCTA. 49 U.S. C. 10501(b)(1). When a civil action in federal court
arises under the ICCTA, the action ordinarily should be stayed and the relevant claims referred to
the STB. But recognizing the STB's primary jurisdiction does not divest the district court of its
original subject matter jurisdiction. Reiter, 507 U.S. at 268, 113 S.Ct. 1213. Thus interpreted,
10501(b) and the doctrine of primary jurisdiction ensure both that the STB remains the primary
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 27 of 34. PagelD #: 72

policy maker on matters arising under the ICCTA, and also that matters falling squarely under the
ICCTA do not languish in state courts for lack of federal removal jurisdiction.

Furthermore, when the text of a statute is susceptible of more than one reasonable meaning, we
may look to legislative history to discern legislative intent. See United States v. Vaile, 538 F.3d
341, 345 (5th Cir.2008). Here, legislative history suggests Congress did not intend 10501(b) to
preclude original (or removal) federal jurisdiction over claims arising under the ICCTA.

For one, Congress was clear that 10501(b) establishes the " complete pre-emption" of state
economic regulation of railroads. H.R.Rep. No. 104-311, at 95-96, 1995 U.S. C.C.A.N. at 807,
808. Complete preemption and removal jurisdiction are simply two sides of the same coin: a
finding of complete preemption " represents a conclusion that all claims on the topic arise under
federal law, so that 28 U.S. C. 1441 permits removal.” Pollitt v. Health Care Serv. Corp,, 558 F.3d
615, 616 (7th Cir.2009); see also Barrois, 533 F.3d at 331 (" Complete preemption is a‘
jurisdictional doctrine....’" ). In expressing its intent to completely preempt state economic
regulation of railroads, Congress also was expressing its intent that claims attempting to enforce
such state regulations would be removable. As the First Circuit recognized in Pejepscot, the basic
purpose of the ICCTA is to federalize the regutation of rail transportation, not deprive the federal .
courts of jurisdiction. 215 F.3d at 204-05.

Moreover, legislative history indicates that current 11704(c)(1) was intended to " reenact [ ] the
applicable rail portions of former section 11705" of the ICA. H.R. Conf. Rep. No. 104-422, at 195,
1995 U.S. C.C.A.N. at 880 (emphasis added). Current 11704(c)(1) is almost identical to former
11705(c)(1), 14] and " civil actions against rail carriers under [former 11705] were routinely
brought in federal

Page 811

district court.” Pejepscot, 215 F.3d at 203; see a/so Atl. Coast Line, 383 U.S. at 579-80, 86 S.Ct.
1000 (recognizing ICA gives complainant choice of " bringing suit in a federal district court” ); S. P.
Transp. Co. v. San Antonio, Tex. by and through City Pub. Serv. Bd., 748 F.2d 266, 271 n. 11 (5th
Cir.1984) (” Although the notion of exclusive jurisdiction in the |.C.C. may once have found voice
in the Supreme Court ... subsequent cases have established that reasonableness claims may be
brought in federal court." ). Notably, courts found original federal jurisdiction under the ICA even
though the ICC's jurisdiction, like the STB's jurisdiction, was described as " exclusive." See 49
U.S. C. 10501(d) (1994). We will not presume Congress intended 10501(b) to withdraw criginal
federal jurisdiction over claims arising under the ICCTA, particularly when such jurisdiction was
commonly exercised under the similarly worded ICA. See Verizon Md., Inc. v. Pub. Serv. Comm'n
of Md., 535 U.S. 635, 644, 122 S.Ct. 1753, 152 L.Ed.2d 871 (2002) (declining to presume
Congress intended to withdraw federal question jurisdiction); Cannon v. Univ. of Chi, 441 U.S.
677, 696-98, 99 S.Ct. 1946, 60 L.Ed.2d 560 (1979) (presuming Congress was aware of judicial
interpretations of earlier statute).
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 28 of 34. PagelD #: 73

For the reasons stated, the Elams' negligence per se claim arises under the ICCTA, and the
district court would have had original jurisdiction over the claim under 28 U.S. C. 1331 and 1337.
The district court therefore had removal jurisdiction under 28 U.S. C. 1441. Moreover, the district
court had supplemental jurisdiction over the Elams’ other state law claims because they all arise
out of the same common nucleus of operative fact, namely, the accident at the Pine Crest Road
crossing. See 28 U.S.C. 1367(a); Giles v. NYLCare Health Plans, Inc., 172 F.3d 332, 337-38 (Sth
Cir.1999) ("When a complaint raises both completely-preempted claims and arguably conflict-
preempted claims, the court may exercise removal jurisdiction over the completely-preempted
claims and supplementat jurisdiction ... over the remaining claims.” ). Accordingly, we hold the
district court properly exercised jurisdiction over this action.

5. Referral to the STB was not required.

The Supreme Court has stated " [nJo fixed formula exists for applying the doctrine of primary
jurisdiction." W. Pac., 352 U.S. at 64, 77 S.Ct. 161. We have recognized agency referral is favored
when (a) it will promote even-handed treatment and uniformity in a highly regulated area, or when
sporadic action by federal courts would disrupt an agency's delicate regulatory scheme; or (b) the
agency possesses expertise in a specialized area with which the courts are relatively unfamiliar.
Mercury Motor Express, inc. v. Brinke, 475 F.2d 1086, 1092 (Sth Cir.1973). A district court " has
discretion either to retain jurisdiction [while the action is refereed to the agency] or, if the parties
would not be unfairly disadvantaged, to dismiss the case without prejudice.” Reiter, 507 U.S. at
268-69, 113 S.Ct. 1213. In any event, " the doctrine of primary jurisdiction is not a doctrine of
futility; it does not require resort to ‘ an expensive and merely delaying administrative proceeding’ "
when there are no substantial issues for the agency to decide. Local Union No. 189 v. Jewel Tea
Co., 381 U.S. 676, 686, 85 S.Ct. 1596, 14 L.Ed.2d 640 (1965) (quoting Fed. Mar. Bd. v.
Isbrandtsen Co., 356 U.S. 481, 521, 78 S.Ct. 851, 2 L.Ed.2d 926) (Frankfurter, J., dissenting);
Skaw v. United States, 740 F.2d 932, 938 (Fed.Cir.1984).

Here, the district court did not abuse its discretion in dismissing without prejudice the Elams'
negligence per se

Page 812

claim. The ICCTA establishes liability " for damages sustained by a person as a result of an act or
omission of that carrier in violation of this part." 49 U.S. C. 11704(b). The Elams allege they
sustained damages because KCSR blocked the Pine Crest Road crossing for more than five
minutes, but the Elams do not contend blocking a road crossing for more than five minutes
violates any provision of the ICCTA or the STB's regulations. Indeed, we held in Friberg that"
nothing in the ICCTA” provides authority for imposing operating limitations on a railroad like those
imposed by Mississippi's antiblocking statute. 267 F.3d at 444. Because the Elams have not
identified any substantial claim or issue requiring resolution by the STB, it would be futile to refer
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 29 of 34. PagelD #: 74

their negligence per se claim to the STB. The district court properly dismissed this claim.
For the reasons stated, we AFFIRM the dismissal of the Elams' negligence per se claim.
6. Diversity Jurisdiction

A federal district court may exercise original diversity jurisdiction under 28 U.S. C. 1332 only if
the plaintiffs and the defendants are completely diverse. See, e.g., Exxon Mobil Corp. v. Allapattah
servs., inc., 545 U.S. 546, 553, 125 S.Ct. 2611, 162 L.Ed.2d 502 (2005). " In a case with multiple
plaintiffs and multiple defendants, the presence in the action of a single plaintiff from the same
State as a single defendant deprives the district court of original diversity jurisdiction over the
entire action." /d. Although both Michael and the Elams are residents of Mississippi, KCSR
contends the district court could have exercised diversity jurisdiction over this action because
Michael is an improper party. The district court properly rejected this contention.

We have recognized two ways for a defendant to show improper joinder for purposes of federal
diversity jurisdiction: (1) actual fraud in the pleading of jurisdictional facts, or (2) inability of the
plaintiff to establish a cause of action against the nondiverse party in state court. Smallwood v. Iil.
Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir.2004) (en banc). Only the second way is relevant to
this case, and thus the test for improper joinder is whether KCSR has demonstrated there is "no
reasonable basis for the district court to predict that the plaintiff might be able to recover against"
Michael. /d. We resolve " all contested factual issues and ambiguities of state law in favor of" the
Elams. Gasch v. Hartford Accident & iIndem. Co., 491 F.3d 278, 281 (5th Cir.2007}.

Our decision in Travis v. Irby is closely on point. In Travis, a train struck an automobile at a rail
crossing. 326 F.3d 644, 646 (5th Cir.2003). The driver's mother sued the owner of the train and
the train's engineer in state court. fa. Although both the plaintiff and the engineer resided in
Mississippi, the defendants attempted to remove the action based on federal diversity jurisdiction.
Id. The district court denied the plaintiff's motion to remand, finding the engineer was improperly
joined because the plaintiff did not at the time have evidence to support her claims against the
engineer. /d. at 649. We reversed, observing that " [u]nder Mississippi law, [the engineer] owed a
duty to exercise reasonable care to avoid injuring [the driver] at the railroad crossing.” fd. (citing
New Orleans & N.R. Co. v. Lewis, 214 Miss. 163, 58 So.2d 486, 490 (1952)). We also observed
the engineer " can be held personally responsible for negligent acts committed within the scope of
his employment." /d. (citing Harrison v. lll C. RR. Ca., 219 Miss. 401, 69 So.2d 218, 222 (1954)).
We concluded that" simply

Page 813

pointing to the plaintiffs lack of evidence at this stage of the case is insufficient to show that there
is no possibility for [the plaintiff] to establish [the engineer]'s liability at trial." /d. at 650-51.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 30 of 34. PagelD #: 75

Here, as in Travis, the Elams allege facts providing at least a reasonable basis to predict Michael
was negligent. The Elams allege Michael blocked " the crossing without giving any warning or
signal indicating the locomotive engine and freight cars were present.” The Elams also allege
Michael failed to " maintain warning devices, bells, lights, flashing signals, or other reasonable
warning devices calculated to warn approaching motorists of the stationary locomotive engine and
train." KCSR, of course, disputes these allegations. KCSR asserts " Michael did in fact blow the
train's whistle and ring its bell as it approached the Crossing and continued to sound these
warnings in compliance with Kansas City Southern's rules and Mississippi law until the train had
fully occupied the Crossing." Mississippi law, however, appears to require that a " bell shall be
kept ringing continuously or the whistle or horn shall be kept blowing at repeated intervals until
said crossing is passed." MISS.CODE 77-9-225 (emphasis added). KCSR also relies on
Mississippi's " occupied crossing rule," which provides that " a train legitimately stopped or
standing over a public crossing because of its tremendous size is all the warning the traveling
public is entitled to." King v. il. Central R.R., 337 F.3d 550, 553 (5th Cir.2003). The Elams,
however, invoke the " peculiar environment or hazardous condition” exception to the occupied
crossing rule. See id.

In short, there are contested issues of fact and ambiguities of state law that must, at this
jurisdictional stage, be resolved in the Elams' favor. Gasch, 491 F.3d at 281. Accordingly, we find
Michael is not an improper party to this action, and the district court therefore would not have
diversity jurisdiction over this action.

B. The Elams' simple negligence claim

Having established federal jurisdiction, we now turn to whether the ICCTA preempts the Elam's
simple negligence claim. We conclude it does not, at least on the current record.

A typical negligence claim seeking damages for a typical crossing accident (such as the Elams’
simple negligence claim) does not directly attempt to manage or govern a railroad’s decisions in
the economic realm. Like state property laws and rules of civil procedure that generally " have
nothing to do with railroad crossings," the effects of state negligence law on rail operations are
merely incidental. Franks, 593 F.3d at 411. Accordingly, we conclude the ICCTA does not
expressly or completely preempt the Elams' simple negligence claim.

Because the ICCTA does not completely preempt the Elams’ simple negligence claim, our inquiry
is whether Mississippi's negligence law, as applied to the facts of this case, would " have the effect
of unreasonably burdening or interfering with” KCSR's operations. /d. at 414. Our inquiry is " fact-
based," and KCSR must come forward with evidence of the specific burdens imposed. fd. at 415.
General evidence that rail crossings affect rail transportation is insufficient. id. Moreover, we begin
with the assumption that Congress did not intend to supersede the historic police powers of the
states " to protect the health and safety of their citizens." Medtronic, 518 U.S. at 475, 116 S.Ct.
2240; Demahy v. Actavis, Inc., 593 F.3d 428, 435 (5th Cir.2010). As this Court recognized in
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 31 of 34. PagelD #: 76

Barrois, " the care of grade crossings is peculiarly within the police power of the states."

Page 814

533 F.3d at 333 (citing Lehigh Valley R.R. Co. v. Bd. of Publ. Util. Comm'rs 278 U.S. 24, 35, 49
S.Ct. 69, 73 L.Ed. 161 (1928)); H.R.Rep. No. 104-311, at 96, 1995 U.S. C.C.A.N. at 808 (stating "
States retain the police powers reserved by the Constitution..." }.

The Elams assert several theories of negligence. In essence, the theories all allege that KCSR
failed to provide adequate warnings of the train's presence at the Pine Crest Road crossing [13]
The issue is whether KCSR has demonstrated that providing such warnings would unreasonably
burden cr interfere with its switching operations.

KCSR has produced an affidavit asserting:

[I]imiting the amount of time KCS[R] can block a crossing, including the crossing in question, or
otherwise regulating how KCS[R] uses the tracks in switching, will directly impact KCS[R]'[s]
operation, and will necessitate changes in switching, train length, and crew operations. Such
would, in turn, adversely impact KCS[R] economically since such would affect how and when KCS
[R] trains arrive and depart, and the number of separate trains KCS[R] must operate.

This affidavit does not defeat the Elams' simple negligence claim for two reasons. First, although
the affidavit addresses the burdens of Mississippi's antiblocking statute, it does not address the
burdens of providing adequate warnings of the train’s presence at the Pine Crest Road crossing.
We see no apparent reason why providing such warnings would require changes in KCSR's
switching, train length, and crew operations. Second, in any event, the affidavit does not
demonstrate that providing adequate warnings at the Pine Crest Road crossing would
unreasonably burden or interfere with KCSR's operations. In the absence of such evidence, we
presume Congress did not intend to preempt this " typical! dispute[ ]" concerning the safety of a "
typical crossing[ ]." Franks, 593 F.3d at 415.

KCSR has not met its burden of showing that the Elams' simple negligence ciaim is preempted.
Because preemption was the sole basis for the district court's sua sponte dismissal of this claim,
we reverse and remand to the district court for further proceedings. The district court will need to
determine whether the Elams' simple negligence claim in turn should be remanded to Mississippi
state court. See 28 U.S.C. 1367(c), 1441(c); Barrois, 533 F.3d at 333 (recognizing that routine "
crossing cases are typically resolved in state courts” ).

As a final matter, KCSR asserts we should uphold the dismissal of the Elams’ simple negligence
claim on the merits. We do not reach the merits because they were not adequately briefed to
either the district court or this Court. Indeed, because the district court sua sponte dismissed the
Elams' claims on a motion to remand, KCSR has not yet even filed a motion to dismiss. See, e.g.,
Bogy v. Ford Motor Co., 538 F.3d 352, 355 (5th Cir.2008) (" Although we have the authority to
consider grounds presented to but not ruled upon by the district court, we decline to do so
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 32 of 34. PagelD #: 77

because the plaintiffs did not address the various other grounds in their briefing, and we think the
better course is for the district court to address those issues in the

Page 815

first instance." ); Betzel v. State Farm Lloyds, 480 F.3d 704, 709 (5th Cir.2007) (declining to
consider in first instance question of state law that was not fully briefed by parties).

IV. CONCLUSION

For the reasons stated, we affirm in part, reverse in part, and remand to the district court for further
proceedings.

Notes:

[1] Bobby Elam additionally asserts a claim of tortious interference with spousal relationship, but
this claim is based on " the combined and concurrent negligence of the defendants.” The claim
thus rises or falls with the Elams’ negligence claim.

[2] Mississippi's antiblocking statute provides:

Every railroad company, upon stopping any train at a place where such railroad shall cross a
highway, shall so uncouple its cars as not to obstruct travel upon such highway for a longer period
than five (5) minutes. Every railroad company shall, upon stopping a train at a place where the
railroad is crossed by a street, so uncouple the cars as not to obstruct travel thereon for a longer
period than shall be prescribed by ordinance of the city, town or village. A failure to observe this
section shall cause a railroad company to be liable to a fine of Fifty Dollars ($50.00) for each
offense. MISS.CODE 77-9-235,

[3] See also PCS Phosphate Co., Inc. v. Norfolk S. Corp., 559 F.3d 212, 218 (4th Cir.2009)
(quoting Fla. E. Coast Ry. Co. v. City of W. Palm Beach, 266 F.3d 1324, 1331 (11th Cir.2001) (”
Congress narrowly tailored the ICCTA preemption provision to displace only ‘ regulation,’ i-e.,
those state laws that may reasonably be said to have the effect of ‘ managing’ or ‘ governing’ rail
transportation, while permitting the continued application of laws having a more remote or
incidental effect on rail transportation." )); Adrian & Blissfield R.R. Co. v. Vill. of Blissfield, 550 F.3d
533, 539 (6th Cir.2008) (same).

[4] see also Pace v. CSX Transp., inc., 613 F.3d 1066, 1070 (11th Cir.2010) (finding that states
may not circumvent ICCTA with tort remedies).

[5] see also Assn of Am. R.R. v. S. Coast Air Quality Mgmt. Dist., 622 F.3d 1094, 1097 (Sth
Cir.2010) (recognizing that ICCTA permits the " continued application of laws having a more
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 33 of 34. PagelD #: 78

remote or incidental effect on rail transportation" ); PCS Phosphate, 559 F.3d at 218 (same); H.R.
Conf. Rep. No. 104-422, at 167 (1995), reprinted in 1995 U.S. C.C.A.N. 850, 853 (stating that "
exclusivity is limited to remedies with respect to rail requlation— not State and Federal taw
generally" ).

[6] See, e.g., Ass'n of Am. R.R., 622 F.3d at 1098 (rejecting argument that " ICCTA preempts only
economic regulation” ); Fayus Enters. v. BNSF Ry. Co., 602 F.3d 444, 451 (D.C.Cir.2010) (”
Several of the cases, in addressing these environmental regulations, note that the ICCTA ' does
not preempt only explicit economic regulation.’ " ).

[7] Friberg did not address whether the ICCTA completely or merely defensively preempted
Texas's antiblocking statute. Texas's antiblocking statute " prohibited railroad officers, agents,
servants or receivers from wilfully allowing a standing train to block a street, highway or railroad
crossing for more than five minutes." Friberg, 267 F.3d at 441 n. 2.

[8] in PCi, we held the ICCTA completely preempted a claim of intentional interference with
contractual relations that sought injunctive relief imposing a variety of restrictions on a rail
operator's fees and delivery practices. 418 F.3d at 538.

[9] We need not define the contours of the " economic realm." Wherever they lie, we have held
they include antiblocking statutes like the one at issue in this case. See Friberg, 267 F.3d at 444.

[10] see also Norfolk S. Ry. Co. v. City of Alexandria, 608 F.3d 150, 160 (4th Cir.2010) (same):
Emerson v. Kan. City S. Ry. Co., 503 F.3d 1126, 1133 (10th Cir.2007) (same); Green Mountain
R.R. Corp. v. Vermont, 404 F.3d 638, 643 (2d Cir.2005) (same); H.R.Rep. No. 104-311, at 95-96,
1995 U.S. C.C.A.N. at 807, 808 (stating that states retain police powers); H.R. Conf. Rep. No.
104-422, at 167, 1995 U.S. C.C.A.N. at 852 (stating that " exclusivity is limited to remedies with
respect to rail regulation— not State and Federal law generally" ).

[11] The FRSA provides that certain state safety laws and personal injury actions are not
preempted as long as, inter alia, they are " not incompatible” with other federal laws. See 49 U.S.
C. 20106(a}(2)(B), (b)(1}(B) (emphasis added).

[12] Under the ICA, 11705 provided: " A person may file a complaint with the [ICC] under section
11701(b) of this title or bring a civil action under subsection (b)(1) or (2) of this section to enforce
liability against a common carrier providing transportation subject to the jurisdiction of the [ICC]....’
49 U.S.C. 11705(c)(1) (1994).

[13] To the extent the Elams allege KCSR was negligent solely because it blocked the Pine Crest
Road crossing, that claim is impliedly preempted. For the reasons already discussed, any liability
arising from such a claim would " have the effect of unreasonably burdening or interfering with"
KCSR's decisions in the economic realm. Franks, 593 F.3d at 411; Friberg, 267 F.3d at 443.
Case: 1:12-cv-01810-CAB Doc #:5 Filed: 07/25/12 34 of 34. PagelD #: 79
